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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


      Conf. Tribes of the Chehalis Reservation, et al.         )
                             Plaintiff                         )
                                v.                             )      Case No.     1:20-cv-1002-APM
                       Steven Mnuchin                          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant                                                                                                                     .

                                                                                                    Digitally signed by JASON LYNCH
Date:          04/20/2020                                             JASON LYNCH                   Date: 2020.04.17 18:18:15 -04'00'
                                                                                         Attorney’s signature


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